Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 1 of 32 PageID #: 1




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 NARISTE NETWORKS PTY. LTD.                        §
                                                   §
           Plaintiff,                              §
                                                   §
     v.                                            §     Civil Action No. 2:23-cv-00031
                                                   §
 SAMSUNG ELECTRONICS CO., LTD.                     §     JURY TRIAL DEMANDED
 and SAMSUNG ELECTRONICS                           §
 AMERICA, INC.                                     §
                                                   §
           Defendants.                             §

          PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

          Plaintiff Nariste Networks Pty. Ltd. (“Nariste” or “Plaintiff”) hereby submits this

Complaint for patent infringement against Defendants Samsung Electronics Co., Ltd. (“SEC”),

and Samsung Electronics America, Inc. (“SEA”) (collectively, “Defendant” or “Samsung”) and

states as follows:

                                I.      NATURE OF THE ACTION

          1.      This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. § 1 et seq., including, for example, 35 U.S.C. §§ 271, 281, 283, 284, and 285.

                                        II.    THE PARTIES

          2.      Nariste is a Proprietary Limited Company organized under the laws of Australia

with its principal place of business at 81-83 Campbell Street, Surry Hills, NSW 2010, Australia.

          3.      On information and belief, defendant SEC is a corporation organized and existing

under the laws of the republic of Korea, with its principal place of business at 129 Samsung-ro,

Maetan-3dong, Yeongtong-gu Suwon-si, Gyeonggi-do 16677, Suwon-Shi, Korea.

          4.      On information and belief, defendant SEA is a corporation organized and existing




                                                    1
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 2 of 32 PageID #: 2




under the laws of New York, with its principal place of business at 85 Challenger Road, Ridgefield

Park, New Jersey, 07660, and maintains a regular and established place of business in this District,

including for example at 6625 Excellence Way, Plano, Texas 75023; 1303 East Lookout Drive,

Richardson, Texas 75082; 2800 Technology Drive, Suite 200, Plano, Texas 75074; and 2601

Preston Road, Frisco, Texas 75034. Moreover, SEA indicated in early 2019 that it would be

centralizing multiple offices in a location in this District at the Legacy Central office campus,

located at 6225 Declaration Drive, Plano, Texas 75023.1 SEA is registered to do business in the

state of Texas and may be served with process through its registered agent CT Corporation System,

located at 1999 Bryan St., Suite 900, Dallas, Texas 75201.

        5.       On information and belief, SEA is a wholly owned subsidiary of SEC.

        6.       On information and belief, Samsung has authorized sellers and sales representatives

that offer and sell products pertinent to this Complaint to consumers throughout the State of Texas,

including in this Judicial District, such as: Best Buy, 422 West TX-281 Loop, Suite 100,

Longview, Texas 75605; Best Buy, 308 E End Blvd S, Marshall, Texas 75670; AT&T, 1712 East

Grand Avenue, Marshall, Texas 75670; TMobile, 1806 East End Boulevard North, Suite 100,

Marshall, Texas 75670; TMobile, 900 East End Boulevard North, Suite 100, Marshall, Texas

75670; Verizon authorized retailers, including Russell Cellular, 1111 East Grand Avenue,

Marshall, Texas 75670; Victra, 1006 East End Boulevard North, Marshall, Texas 75670; and

Cricket Wireless authorized retailer, 120 East End Boulevard South, Marshall, Texas 75670.

        7.       Samsung sells, offers for sale, makes, uses, and/or imports cellular phones, tablets,

and other mobile devices throughout the United States, including within this District that

incorporate the infringing technologies.


1
 https://news.samsung.com/us/samsung-electronics-america-open-flagship-north-texas-campus/ (last visited Dec.
30, 2022).


                                                       2
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 3 of 32 PageID #: 3




                             III.    JURISDICTION AND VENUE

        8.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a)

because this action arises under the patent laws of the United States, 35 U.S.C. § 1 et seq., including

35 U.S.C. § 271.

        9.      This Court has personal jurisdiction over Samsung at least because Samsung

conducts business in this Judicial District and in the State of Texas.

        10.     This Court also has personal jurisdiction over Samsung at least because Samsung

has committed acts of patent infringement and/or has induced acts of patent infringement by others

in this Judicial District and in the State of Texas. Samsung has sold and offered for sale products

that infringe Nariste’s patent rights and has induced others to use Samsung products to infringe

Nariste’s patent rights. On information and belief, these products, including the Samsung cellular

phones, tablets and other mobile products (defined below and collectively referred to herein as the

“Infringing Products”) have been manufactured, offered for sale, sold, used, and/or imported in

the United States, within the State of Texas and within this Judicial District.

        11.     This court also has personal jurisdiction over Samsung because Samsung has placed

the Infringing Products into the stream of commerce, with the expectation that they will be

purchased and used by customers in the State of Texas and in this Judicial District. On information

and belief, customers in the State of Texas and in this District have purchased and used and

continue to purchase and use the Infringing Products. Accordingly, Samsung’s conduct and

connections with the State of Texas are such that it should reasonably have anticipated being

brought into court here.

        12.     Accordingly, Samsung has established minimum contacts with this forum such that

the exercise of jurisdiction over Samsung would not offend traditional notions of fair play and

substantial justice.


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 4 of 32 PageID #: 4




       13.     Venue is proper in this District as to SEC pursuant to 28 U.S.C. §§ 1391 and

1400(b) because, among other things, being an alien corporation, SEC may be sued in any judicial

district. Further, venue is proper in this District as to SEC pursuant to 28 U.S.C. §§ 1391 and

1400(b) because SEC is a foreign company doing business in the United States through SEA, SEA

and SEC are subject to personal jurisdiction in this District, have committed acts of patent

infringement in this District, and have a regular and established place of business in this District.

       14.     Venue is proper in this District as to SEA pursuant to 28 U.S.C. §§ 1391 and

1400(b) because, among other things, SEA has committed acts of infringement in this judicial

District and has a regular and established place of business in this District, including but not limited

to regular and established places of business at 6625 Excellence Way, Plano, Texas 75023 and

2601 Preston Road, Frisco, Texas 75034.

       15.     Samsung has committed acts within this Judicial District giving rise to this action,

and Samsung continues to conduct business in this District, including through the importation,

sale, offer for sale and use of Infringing Products.

       16.     Joinder of SEC and SEA is proper under 35 U.S.C. § 299 because Nariste asserts

its right to relief against SEC and SEA jointly, severally, or in the alternative with respect to or

arising out of the same transaction, occurrence, or series of transactions or occurrences relating to

the making, using, importing into the United States, offering for sale, selling of the same accused

products or processes, including Samsung cellular phones, tablets and other mobile products; and

questions of fact common to SEC and SEA will arise in the action.

                                      IV.     BACKGROUND

       17.     This complaint arises from Samsung’s infringement of United States Patent No.

RE48,206 (“Asserted Patent” or “‘206 Patent”).

       18.     On September 15, 2020, the United States Patent and Trademark office duly and


                                                   4
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 5 of 32 PageID #: 5




legally issued the ‘206 Patent which is entitled “Reduced Power in Mobile GPS-Based

Technologies.” The ‘206 Patent is valid and enforceable.

       19.     The inventor of the ‘206 Patent is Dr. Robert Anderson Malaney.

       20.     Nariste is the sole and exclusive owner of all rights, title, and interest in the ‘206

Patent, including the sole and exclusive right to prosecute this action, to enforce the ‘206 Patent

against infringers, to collect damages for past, present and future infringement of the ‘206 Patent,

and to seek injunctive relief as appropriate under the law. Accordingly, Samsung’s infringement,

as described below, has injured, and continues to injure Nariste.

       21.     The ‘206 Patent generally relates to GPS acquisition and more particularly, to

power conservation for GPS-enabled devices.

       22.     Nariste focuses on the development of wireless technology that utilizes location

information to enhance mobile application performance. The inventions of the ‘206 Patent grew

out of research conducted by Dr. Malaney. Following the filing of the application that issued as

the ‘206 Patent, Nariste undertook extensive field trials of its technology, proving the usefulness

of the technology in acquiring location information that met certain technical requirements, whilst

reducing mobile-battery usage.

       23.     By 2010, GPS-equipped mobile phones had become standard, and providers of

such phones had become aware of battery-power depletion issues due to on-board GPS chips.

Accordingly, over time, the technology developed by Nariste was widely adopted by various

mobile devices including those imported, used, manufactured, offered for sale, or sold by

Samsung.

       24.     On December 3, 2020, Nariste sent a letter to Samsung’s Director of Patent

Acquisition and asked if Samsung would be interested in purchasing the patent. Nariste never




                                                 5
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 6 of 32 PageID #: 6




received a response to that letter from Samsung.

        25.      Nariste has not licensed or otherwise authorized Samsung to make, use, offer for

sale, sell, or import any products that embody the inventions of the ‘206 Patent.

        26.      Samsung Galaxy phones include a GPS antenna to track real-time location data.2 A

user can easily turn on and off the location service on the phone.3 A user can also improve location

accuracy to get more accurate location services.4 Samsung provides instructions on “[h]ow to

activate [] location and change settings for location permissions” on its website.5

        27.      GPS is used by the Android Operating System (“Android OS”) running on

Samsung devices. Additionally, many applications running on Samsung devices use GPS.

        28.      It is important to users of cellular phones, tablets, smart watches and other mobile

devices (collectively, “Mobile Devices”) that the device consume power in an efficient manner.

The users of Mobile Devices prefer a device that consumes less power in a given time period to a

device that consumes more power in the same given time period.

        29.      The users of Mobile Devices prefer a device that needs to be charged less frequently

to a device that would have to be charged more frequently.

        30.      The GPS system is one of the most power-intensive systems of a smart phone.

Accordingly, an inefficient consumption of power by the GPS system in Samsung Mobile Devices

is undesirable. For instance, keeping the GPS system in the Samsung Mobile Devices fully

powered “on” at all times would prematurely drain the device battery, requiring the user to charge

the device more frequently. On the other hand, having a GPS system in the Samsung Mobile




2
  https://www.samsung.com/latin_en/support/mobile-devices/how-to-activate-my-location-and-change-settings-for-
location-permissions (last visited Dec. 27, 2022).
3
  Id.
4
  Id.
5
  Id.


                                                      6
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 7 of 32 PageID #: 7




Devices that is selectively turned on and off to use power more efficiently is preferred.

        31.      A user can easily activate location services in Samsung Mobile Devices based on

instructions provided by Samsung:6




        32.      Moreover, a user can change the settings for location information permissions in

Samsung Mobile Devices using instructions provided by Samsung:7




6
  https://www.samsung.com/latin_en/support/mobile-devices/how-to-activate-my-location-and-change-settings-for-
location-permissions/ (last visited Dec. 27, 2022).
7
  Id.


                                                      7
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 8 of 32 PageID #: 8




          33.   Additionally, Samsung provides user instructions to improve location accuracy in

Samsung Mobile Devices:8




          34.   Samsung’s Mobile Devices operate using the Android OS.

          35.   The Android OS is developed and is made available by Google.



8
    Id.


                                                8
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 9 of 32 PageID #: 9




           36.      Additional instructions and information regarding the operation of the Android OS

on the Samsung Mobile Devices are provided by Google.

           37.      For example, a user is provided with instructions on how to “[H]elp [his/her] phone

get a more accurate location (Google Location Services a.k.a. Google Location Accuracy):9




           38.      When Google Location Accuracy is turned on, the Samsung Mobile Devices use

GPS, Wi-fi, Mobile Networks, and Sensors (e.g., accelerometer) to get the most accurate

location:10




9
    https://support.google.com/accounts/answer/3467281?hl=en (last visited Dec. 27, 2022).
10
     Id.


                                                          9
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 10 of 32 PageID #: 10




            39.      For example, on information and belief, the Android OS allows applications

 running on the Samsung Galaxy S20 to control power on (and off) functionality of GPS through

 several attributes, e.g., one being setting the required accuracy to control whether GPS is used or

 not:11




            40.      When Google Location Accuracy is off, GPS, Wi-Fi, network, and sensor data are



 11
      https://developer.android.com/guide/topics/location/battery (last visited Dec. 30, 2022).


                                                             10
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 11 of 32 PageID #: 11




 not used or collected by Google Location Accuracy.12 Moreover, for Android 12 and higher, a user

 can manage each application’s permission to access precise location.13




                  V.      COUNT I: INFRINGEMENT OF THE ’206 PATENT

            41.   Nariste incorporates each of the allegations of paragraphs 1–40 above.

            42.   Samsung has directly infringed and continues to directly infringe the ‘206 Patent

 by, for example, making, using, offering to sell, selling, and/or importing into the United States,

 without authority, products that practice one or more claims of the ‘206 Patent.

            43.   Samsung is not licensed or otherwise authorized to make, use, offer for sale, sell or

 import any products that embody the inventions of the ’206 Patent in the United States.

            44.   Samsung has and continues to directly infringe one or more claims of the ’206

 Patent, including, for example, claim 37 of the ’206 Patent, either literally or under the doctrine of

 equivalents, by making, using, offering to sell, selling, and/or importing into the United States

 Samsung Mobile Devices without authority and in violation of 35 U.S.C. § 271.

            45.   With respect to the ‘206 Patent, Samsung’s infringing products include any


 12
      Id.
 13
      Id.


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 12 of 32 PageID #: 12




 Samsung products with embedded GPS and WiFi capability including, for example, the following:

 (1) Samsung phones including, but not limited to, Samsung Galaxy S series (e.g., S9, S9+, S10,

 S10+, S10e, S20, S20+, S20 Ultra, S20 FE, S21, S21+, S21 Ultra, S21 FE, S22, S22+, S22 Ultra),

 Samsung Galaxy Z series (e.g., Fold4, Flip4, Fold3, Flip3, Fold2, Fold, Flip), Samsung Galaxy A

 series (e.g., A73, A72, A53, A52, A52s, A51, A50, A42, A33, A32, A23, A22, A20, A13, A12,

 A04, A04s, A04e, A03, A03S); (2) Samsung tablets including, but not limited to, Samsung Galaxy

 Tab A (e.g., A7, A7 Lite, A8, A10.1); Tab S (e.g., S4, S5e, S6, S6 Lite, S7, S7+, S7 FE, S8, S8

 Ultra, S8+); and (3) Samsung watches including, but not limited to, Samsung Galaxy Watch

 Active, Watch Active 2, Watch, Watch 3, Watch 4 and Watch 5, as well as any other Samsung

 products with a similar structure or functionality (collectively, the “Accused Products”).

        46.     On information and belief, each of the Accused Products, includes the Android OS

 at the time it is manufactured, used, imported, offered for sale and/or sold in the United States.

        47.     On information and belief, each of the Accused Products runs the Android OS when

 in use by a user.

        48.     On information and belief, applications running on each of the Accused Products

 have access to the Android OS.

        49.     On information and belief, the Accused Products come preloaded with a number of

 features and applications developed by Samsung. On information and belief, some of these features

 and application developed by Samsung use the device location information (collectively,

 “Samsung Location Apps”).

        50.     On information and belief, the Samsung Location Apps include, but are not limited




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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 13 of 32 PageID #: 13




 to, “Samsung Internet,”14 “Samsung Health,”15 and “Samsung Find my Mobile.”16

         51.     The Samsung Location Apps running on the Accused Products receive location

 information from the Android OS running on the device.

         52.     For example, the Samsung Galaxy S20 (“Galaxy S20”) includes a number of

 Samsung Location Apps including, but not limited to Bixby.17




         53.     Another example of a Samsung Location App on the Galaxy S20 is the “Emergency

 Mode Features” which allows a user to share his/her location information with emergency

 contacts.18




 14
    https://developer.samsung.com/internet/privacy-policy-us.html (last visited Jan. 4, 2023);
 https://www.youtube.com/watch?v=YuGgGq4vcUA (last visited Jan. 4, 2023).
 15
    https://www.mainenewsonline.com/how-accurate-is-the-samsung-health-app/ (last visited Jan. 4, 2023).
 16
    https://www.youtube.com/watch?v=gFv1qwE2OmY (last visited Jan. 4, 2023).
 17
    https://downloadcenter.samsung.com/content/UM/202002/20200215055549358/UNL_STR_SM-G981U_SM-
 G986U_SM-G988U_EN_UM_Q_10.0_021220_FINAL.pdf#page74 (hereinafter, “S20 User Manual”) (last visited
 Jan. 4, 2023) at 32.
 18
    S20 User Manual at 52-53.


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 14 of 32 PageID #: 14




            54.     Another example of a Samsung Location App on the Galaxy S20 is the “Send SOS

 Messages” feature which allows a user to send a message with his/her location to designated

 contacts:19




            55.     Another example of a Samsung Location App on the Galaxy S20 is the feature

 which attaches a GPS location tag to pictures.20




 19
      S20 User Manual at 95.
 20
      S20 User Manual at 61.


                                                    14
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 15 of 32 PageID #: 15




            56.     Another example of a Samsung Location App on the Galaxy S20 is a “Places”

 feature which allows a user to explore nearby business and venues using location services:21




            57.     Another example of a Samsung Location App on the Galaxy S20 is a “Smart Lock”

 feature which unlocks the device automatically upon detecting a “trusted location”:22




            58.     Another example of a Samsung Location App on the Galaxy S20 is the “Find my




 21
      S20 User Manual at 101.
 22
      S20 User Manual at 150.


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 16 of 32 PageID #: 16




 Mobile” features which uses Google’s location service.23




          59.      On information and belief, the Accused Products come preloaded with a number of

 third-party applications. On information and belief, some of these preloaded third-party

 applications use the device location information (collectively, “Third Party Location Apps”).

          60.      For example, one of the Third Party Location Apps is Google Maps.24




          61.      On information and belief, the accused Samsung Phones include Google Maps, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

          62.      On information and belief, the accused Samsung Tablets include Google Maps, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

          63.      On information and belief, the accused Samsung Watches include Google Maps, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

          64.      Another example of the Third Party Location Apps is Google Chrome.25




 23
    S20 User Manual at 151.
 24
    See, e.g., S20 User Manual at 112.
 25
    See, e.g., S20 User Manual at 111.


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 17 of 32 PageID #: 17




        65.     On information and belief, the accused Samsung Phones include Google Chrome,

 as manufactured, used, imported, offered for sale and/or sold in the United States.

        66.     On information and belief, the accused Samsung Tablets include Google Chrome,

 as manufactured, used, imported, offered for sale and/or sold in the United States.

        67.     On information and belief, the accused Samsung Watches include Google Chrome,

 as manufactured, used, imported, offered for sale and/or sold in the United States.



                                                 17
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 18 of 32 PageID #: 18




         68.      Another example of the Third Party Location Apps is Instagram.




                                                                                               26




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         69.      On information and belief, the accused Samsung Phones include Instagram, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

         70.      On information and belief, the accused Samsung Tablets include Instagram, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

         71.      On information and belief, the accused Samsung Watches include Instagram, as

 manufactured, used, imported, offered for sale and/or sold in the United States.



 26
   https://help.instagram.com/171821142968851 (last visited Jan. 5, 2023).
 27
   https://www.newsnationnow.com/business/tech/is-instagrams-precise-location-feature-tracking-you (last visited
 Jan. 5, 2023).


                                                        18
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 19 of 32 PageID #: 19




            72.     Another example of the Third Party Location Apps is Facebook.28




            73.     On information and belief, the accused Samsung Phones include Facebook, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

            74.     On information and belief, the accused Samsung Tablets include Facebook, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

            75.     On information and belief, the accused Samsung Watches include Facebook, as

 manufactured, used, imported, offered for sale and/or sold in the United States.

            76.     On information and belief, the Samsung Location Apps and the Third Party



 28
      https://www.facebook.com/help/337244676357509 (last visited Jan. 5, 2023).


                                                          19
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 20 of 32 PageID #: 20




 Location Apps in the Samsung Mobile Devices use the Android Framework Location APIs.29 The

 Android Framework Location APIs then hook into the next lower layer on the Android stack

 referred to as the Application Framework. The LocationManager software within this Application

 Framework controls the power to a number of sensors in the Samsung Mobile Devices including

 the GPS. The LocationManager allows applications to obtain periodic updates of the device’s

 geographical location, or to be notified when the device enters the proximity of a given

 geographical location.30




         77.      Fused Location Provider API (hereinafter, “Fused-Location”) is provided as a

 wrapper around the Framework Location APIs via a service module preloaded on Android Devices

 and referred to as Google Play Services.

         78.      On information and belief, the Accused Products as manufactured, used, imported,

 offered for sale and/or sold in the United States include Google Play Services.

         79.      On information and belief, Samsung has pre-loaded Fused-Location directly on a




 29
    The Android Framework Location APIs are available, for example, at
 https://android.googlesource.com/platform/frameworks/base/+/refs/heads/master/location/java/android/location (last
 visited Jan. 5, 2023).
 30
    https://developer.android.com/reference/android/location/LocationManager (last visited Jan. 5, 2023).


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 21 of 32 PageID #: 21




 number of the Accused Products including, for example, the Samsung Galaxy S series (e.g., S9,31

 S10,32 S20 Ultra,33 S20 FE,34 S2135) and Samsung Galaxy Z series (e.g., Flip36).

         80.      For example, Samsung Galaxy S20 infringes representative claim 37 of the ‘206

 Patent. On information and belief, the remaining Accused Products infringe representative claim

 37 of the ‘206 Patent at least for the same reasons and in the same manner.

         81.      Claim 37 of the ‘206 Patent claims a method of acquiring a position on a mobile

 wireless communication device for a wireless communications network, said mobile wireless

 communication device possessing wireless communications capability for said wireless

 communications network and an embedded GPS module for GPS capability, said GPS referring

 to GPS-based techniques, said method comprising: determining when said embedded GPS module

 should be powered on, said embedded GPS module then being powered on, said when said

 embedded GPS module should be powered on being dependent on at least one of a current radio

 position and a position error of said mobile device determined from the wireless communications

 network, said wireless communications network being different from said GPS.

         82.      Samsung Galaxy S20 implements a method of acquiring a position on a mobile

 wireless communication device for a wireless communications network, said mobile wireless

 communication device possessing wireless communications capability for said wireless

 communications network and an embedded GPS module for GPS capability, said GPS referring

 to GPS-based techniques.37




 31
    https://docs.samsungknox.com/CCMode/G960F_Q.pdf (last visited Jan. 5, 2023).
 32
    https://docs.samsungknox.com/CCMode/G973U_Q.pdf (last visited Jan. 5, 2023).
 33
    https://docs.samsungknox.com/CCMode/G988U_Q.pdf (last visited Jan. 5, 2023).
 34
    https://docs.samsungknox.com/CCMode/G781B_R.pdf (last visited Jan. 5, 2023).
 35
    https://docs.samsungknox.com/CCMode/G998N_5G_R.pdf (last visited Jan. 5, 2023).
 36
    https://docs.samsungknox.com/CCMode/SCG04_Q.pdf (last visited Jan. 5, 2023).
 37
    https://www.samsung.com/au/smartphones/galaxy-s20/specs/ (last visited Dec. 30, 2022).


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 22 of 32 PageID #: 22




       83.   The location services on the Samsung Galaxy S20 use a combination of GPS,




                                         22
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 23 of 32 PageID #: 23




 mobile network and Wi-fi to determine device location.38




            84.     The Samsung Location Apps and the Third Party Location Apps running on the

 Samsung Galaxy S20 use the determined device location information.

            85.     Samsung Galaxy S20 determines when said embedded GPS module should be

 powered on, and said embedded GPS module is then powered on.

            86.     On information and belief, the Android OS allows applications running on the

 Samsung Galaxy S20 (e.g., Samsung Location Apps and the Third Party Location Apps) to control

 power on (and off) functionality of GPS through several attributes, e.g., one being setting the

 required accuracy to control whether GPS is used or not:




 38
      S20 User Manual at 156-157.


                                                 23
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 24 of 32 PageID #: 24




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            87.      On information and belief, when said embedded GPS module of the Samsung

 Galaxy S20 should be powered on is dependent on at least one of a current radio position and a

 position error of said mobile device determined from the wireless communications network, said

 wireless communications network being different from said GPS.



 39
      https://developer.android.com/guide/topics/location/battery (last visited Dec. 30, 2022).
 40

 https://developers.google.com/android/reference/com/google/android/gms/location/Priority#PRIORITY_HIGH_AC
 CURACY (last visited Jan. 6, 2023).


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 25 of 32 PageID #: 25




         88.     For instance, the Android OS running on the Samsung Galaxy S20 allows an

 application to acquire a current radio position.




                                                                                                        41



         89.     The Android OS running on the Samsung Galaxy S20 also allows an application to

 independently get the position error (e.g., through getAccuracy()).




 41

 https://developers.google.com/android/reference/com/google/android/gms/awareness/snapshot/LocationResult?hl=e
 n (last visited Dec. 30, 2022).


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 26 of 32 PageID #: 26




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            90.      The Android OS running on the Samsung Galaxy S20 also allows an application to

 independently set the required error of the position location (e.g., through setAccuracy()).




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            91.      The Android OS running on the Samsung Galaxy S20 also allows applications to

 use only wireless communication networks (e.g., Wifi and/or cellular signal and not GPS) for



 42
      https://developer.android.com/reference/android/location/Location#getAccuracy() (last visited Dec. 30, 2022).
 43
      https://developer.android.com/reference/android/location/Criteria#setAccuracy(int) (last visited Dec. 30, 2022).


                                                            26
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 27 of 32 PageID #: 27




 positioning.44




            92.      Samsung has and continues to directly infringe the ‘206 Patent, either literally or

 under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by making,

 using, offering to sell, selling, and/or importing into the United States the Accused Products that

 satisfy each and every limitation of one or more claims of the ‘206 Patent.

            93.      Samsung had actual notice of the ‘206 Patent and its infringement of the same at

 least as of December 3, 2020, when it received a first letter from Nariste regarding the same.

            94.      Samsung had actual notice of the ‘206 Patent and its infringement of the same at

 least as of January 26, 2023, when it received a second letter from Nariste regarding the same.

            95.      Samsung had actual notice of the ‘206 Patent and its infringement of the same at

 least as of the filing date of this Complaint.



 44
      https://developer.android.com/guide/topics/location/battery (last visited Dec. 30, 2022).


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 28 of 32 PageID #: 28




         96.      Samsung instructs the users to choose location services during device set up for the

 Accused Products as is shown, for example, in the Samsung Galaxy S20 User Manual:45




         97.      In the User Manual, Samsung tells users that some applications require that location

 services be turned on for full functionality.46




         98.      In the User Manual, Samsung provide instructions for users to configure

 permissions for applications to access the device location information.47




 45
    S20 User Manual at 12.
 46
    S20 User Manual at 156.
 47
    S20 User Manual at 156.


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 29 of 32 PageID #: 29




         99.      In the User Manual, Samsung provides instructions on how to obtain a list of

 applications that have requested the user’s location:48




         100.     Samsung advertises the Samsung Locations Apps and encourages users to use the

 Samsung Location Apps.

         101.     Samsung advertises the Third Party Location Apps and encourages users to use the

 Third Party Location Apps.

         102.     Samsung provides instructions to users and encourages users to download

 applications from the Google Play Store.49




 48
   S20 User Manual at 156.
 49
   https://www.samsung.com/au/support/mobile-devices/how-to-install-apps-from-the-google-play-store/ (last
 visited Jan. 5, 2023)


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 30 of 32 PageID #: 30




         103.     The Google Play Store includes a number of applications that use location services

 as described above, including, for example, Life360,50 SnapChat,51 PokemonGo,52 FourSquare,53

 and others (collectively, “Google Play Location Apps”).

         104.     Accordingly, Samsung advertises the infringing features, has published instructions

 regarding the use of the infringing features, and encourages customers to use the infringing features

 by providing instructions and encouraging them to use the Samsung Location Apps, Third Party

 Locations Apps, and the Google Play Location Apps. With respect to this induced infringement,

 at least the end users of the Accused Products are direct infringers that directly infringe the claims

 of the ‘206 Patent pursuant to Samsung’s instructions and advertisement.

                                              JURY DEMAND

         105.     Nariste hereby demands a trial by jury on all issues so triable.

                                          PRAYER FOR RELIEF

         WHEREFORE, Nariste requests entry of judgment in its favor and against Samsung as

 follows:

      a) A declaration that Samsung has directly infringed one or more claims of the Asserted

         Patent, either literally or under the doctrine of equivalents;

      b) A declaration that Samsung has induced infringement and/or is inducing infringement of

         one or more claims of the Asserted Patent, either literally or under the doctrine of

         equivalents;

      c) An award of damages pursuant to 35 U.S.C. § 284 adequate to compensate Nariste for


 50
    https://play.google.com/store/search?q=life360&c=apps&hl=en_US&gl=US (last visited Jan. 5, 2023).
 51
    https://play.google.com/store/apps/details?id=com.snapchat.android&hl=en_US&gl=US (last visited Jan. 5,
 2023).
 52
    https://play.google.com/store/apps/details?id=com.nianticlabs.pokemongo&hl=en_US&gl=US (last visited Jan. 5,
 2023).
 53
    https://play.google.com/store/apps/details?id=com.joelapenna.foursquared&hl=en_US&gl=US (last visited Jan. 5,
 2023).


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Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 31 of 32 PageID #: 31




       Samsung’s infringement of the Asserted Patent in an amount according to proof at trial

       (together with prejudgment and post-judgment interest), but no less than a reasonable

       royalty;

    d) An award of costs and expenses pursuant to 35 U.S.C. § 284 or as otherwise permitted by

       law; and

    e) Such other and further relief, whether legal, equitable, or otherwise, to which Nariste may

       be entitled or which this Court may order.




                                               31
Case 2:23-cv-00031-JRG-RSP Document 1 Filed 01/27/23 Page 32 of 32 PageID #: 32




  Dated: January 27, 2023                   Respectfully submitted,

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                                            Ltd.




                                      32
